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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 In Re Flint Water Cases                       No. 5:16-cv-10444-JEL-MKM

                                               HON. JUDITH E. LEVY

                                               MAG. MONA K. MAJZOUB


   STIPULATION TO EXTEND TIME TO FILE RESPONSE TO MOTION
                       TO INTERVENE

       On December 18, 2020, Doris Collins et al (“Collins Plaintiffs”) filed a

 Motion to Intervene by Limited Appearance to Object to the Proposed Amended

 Settlement and/or Motion to Intervene in These Proceedings if This Court Reclaims

 Jurisdiction Over the Collins State Case “Unjust Enrichment” Claim. ECF No. 1355

 (“Motion to Intervene”). Pursuant to the Eastern District of Michigan Local Rules,

 the deadline to respond to the Motion to Intervene is January 4, 2021. LR

 7.1(e)(2)(b). Class Plaintiffs, Individual Plaintiffs, and the Collins Plaintiffs, by and

 through their respective counsel, hereby stipulate and agree to extend the time in

 which Class and Individual Plaintiffs must file a response to the Motion to Intervene

 by four days, to January 8, 2021.

       Pursuant to ECF Rule 11(b), Plaintiffs request that a text-only order be entered

 granting this stipulation.

 STIPULATED AND AGREED TO:
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    Dated: December 29, 2020                Respectfully submitted,

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                           CERTIFICATE OF SERVICE
  The undersigned certifies that the foregoing instrument was filed with the U.S.
  District Court through the ECF filing system and that all parties to the above case
  were served via the ECF filing system on December 29, 2020.


  Dated: December 29, 2020                    /s/ Jessica B. Weiner
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